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                          UMTED STATES DISTRICT COT]RT
                          EASTERN DISTRICT OT' LOUISIANA                  FELONY
             IIIDICTMENT FOR VIOLATIONS OF THE CONTROLLED
            SUBSTATICES ACT AND THE FEDERAL GUN CONTROL ACT


riMrEDsrArESoFAMERrcA                          *    cRrMrNALNo.          2l-               L7 V
                                                                                                   I   I




V.                                             * SECTION: SECT.
                                                                                       B [[lAG.4
SEAN   MARTIN                                  *    YIOLATIONS: 21 U.S.C.     $ 841(a)(1)
                                                                21 u.S.c.     $ 841(b)(1)(A)
                     N                         *                    21 U.S.C. $ 841(bX1XC)
                                                                    21 U.S.C. S 846
                                               !F                   18 U.S.C. g 922(9)(1)

                                               '-                   13U:3:3:
                                                                    18 U.S.C. S 2
                                                                                 3;;I[:]E(AX,)
                                               ;*



                                       ***

       The Grand Jury charges that:

                                          COT]NT     1
                     (Conspiracy to Distribute and Possess With the Intent
                  to Distribute Heroin, Fentanyl and Cocaine Hydrochloride)

       From a date unknown, but sometime prior to on or about September 71,2019, and

continuing to on or about November 25,2019, in the Eastern District of Louisiana and elsewhere,

the defendants, SEANI MARTIN,                       and                   combined, conspired,

confederated, and agreed with each other, and with other persons known and unknown to the Grand
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Jury, to distribute and possess with the intent to distribute a mixture or substance containing a

detectable amount of heroin, a Schedule         I narcotic controlled   substance, a mixture or substance

containing a detectable amount of N-phenyl-N- [1- (2-phenylethyl)-a-piperidinyl] propanamide

(fentanyl), a Schedule   II narcotic controlled     substance, and a mixture or substance containing a

detectable amount of cocaine hydrochloride, a Schedule         II drug controlled   substance, in violation

of Title 21, United States Code, Section 8a1(a)(1).

                  Quantitv of Controlled Substances Involved in the Conspiracy

        With respect to defendant SEAN MARTIN, the amount involved in the conspiracy

attributable to him as a result of his own conduct, and the conduct of other conspirators reasonably

foreseeable to him   is: (1) one kilogram   or more of a mixture or substance containing a detectable

amount of heroin, in violation of Title   21,   United States Code, Section   84 1 (bX   1XA); Q) 400 grams

or more of a mixture or       substance containing       a detectable amount of N-phenyl-N- [1- (2-

phenylethyl)-4-piperidinyll propenamide (fentanyl), in violation of Title 21, United States Code,

Section 841(bX1XA), and (3) a quantity of cocaine hydrochloride, in violation of Title 21, United

States Code, Section 841(b)(1XC).
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       All in violation of Title 21, United    States Code, Section 846.

                                            COTJNT 2
                        (Possession with the Intent to Distribute of Heroin,
                              Fentanyl, and Cocaine Hydrochloride)

       On or about November 19, 2019, in the Eastern District of Louisiana and elsewhere, the

defendants, SEAN    MARTIN and                            knowingly and intentionally possessed with

the intent to distribute one kilogram or more of a mixture or substance containing a detectable

amount of heroin, a Schedule I narcotic controlled substance, 400 grams or more of a mixture or

substance containing    a   detectable amount      of   N-phenyl-N- [1- (2-phenylethyl)-a-piperidinyl]

propenamide (fentanyl), a Schedule      II   narcotic controlled substance, and a quantity of cocaine

hydrochloride, a Schedule    II   drug controlled substance, in violation of Title 21, United States

Code, Section 841(a)(1), 841(bXl)(A) 841(bXlXC) and Title 18, United States Code, Section 2.

                                                COIJNT 3
               (Possession of a Firearm in Furtherance of a Drug Traffrcking Crime)

       On or about November 19, 2019, in the Eastern District of Louisiana and elsewhere, the

defendants, SEAN    MARTIN and                             did knowingly possess a firearm, that is,     a


Smith and Wesson 9mm semiautomatic pistol, serial number RAV6997, in furtherance of a drug

trafficking crime for which they may be prosecuted in a court of the United States, that is,

possession   with the intent to distribute one kilogram or more of heroin, 400 grams or more of

fentanyl and a quantity of cocaine hydrochloride, as alleged in Count 2 of this Indictment, all in

violation of Title 18, United States Code, Sections 92a(c)(1XA)(i) and 2.
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                                              COUNT 4
                                  (Felon in Possession of   a Firearm)


          On or about November 19, 2019, in the Eastern District of Louisiana, the defendant, SEAN

MARTIN, knowing        he had previously been convicted of a crime punishable by imprisonment      for

a   term exceeding one year, to wit: a conviction on Septemb er 27 ,2000 in the United States District

Court, Eastern District of Louisian4 Case No. 2:99-cr-00088-SSV, for conspiracy to possess with

the intent to distribute cocaine hydrochloride, in violation of Title 21, United States Code, Section

846, knowingly possessed a firearm, to wit, a Smith and Wesson 9mm semiautomatic pistol, serial

number RAV6997, said firearm was in and affecting interstate and foreign corlmerce, in violation

of Title 18, United States Code, Sections 922(d0) and92a@)Q).

                                              COT]NT 5
                                       (Distribution of Heroin)

         On or about November 13, 2019, in the Eastern District of Louisiana, the defendant, SEAN

MARTIN, knowingly and intentionally distributed a quantity of a mixture and                 substance

containing a detectable amount of heroin, a Schedule I narcotic controlled substance, in violation

of Title 21, United States Code, Sections 8a1(a)(1) and 8a1@)(1XC).




                        SENTENCING ENHANCEMENT PROVISIONS

         The Grand Jury further charges that:

         Prior to committing the offenses charged in Counts 1 and 2 of this Indictrnent, the
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defendant, SEAN         MARTIN, had a conviction, which had become final, in the United                  States

District Court, Eastem District of Louisiana, Case No. 2:99-cr-00088-SSV, for conspiracy to

possess   with the intent to distribute cocaine hydrochloride, in violation of Title 21, United States

Code, Section 846, a serious drug felony for which he served a term of imprisonment of more than

12 months, and for which his release from any term of imprisonment was                   within 15 years of the

cofirmencement of the instant offense.

                                        NOTICE OF FORFEITURE

          1.     The allegations of Counts   1   through 6 of this Indictment are incorporated by reference   as


though set forth fully herein for the purpose of alleging forfeiture to the United States.

          2.     As aresult of the offenses alleged in Counts 1-2 and 5-6, the defendants, SEANI

MARTIN,                           and                         shall forfeit to the United States pursuant to

Title2l, United       States Code, Section 853, any property constituting or derived from any proceeds

obtained directly or indirectly as the result of said offense, and any property used or intended to

be used in any manner or part to commit or to facilitate the commission of said offenses.

        3.       As a result of the offenses alleged in Coirnts 3 and 4, the defendants, SEAN

MARTIN, and                             shall forfeit to the United States pursuant to Title 18, United

States Code, Section 924(d)(l), and Title 28, United States Code, Section 2461(c), any firearm or

ammunition involved in or used in the commission of said offenses, including but not limited to

any firearm or ammunition described above.

        4.       If   any of the above-described property, as a result of any act or omission of the

defendants:

                 a.        carurot be located upon the exercise ofdue diligence;

                 b.        has been transferred or sold to, or deposited    with,   a   third person;

                           has been placed beyond     jurisdiction of the Court;
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               d.      has been substantially diminished in value; or

               e.     has been commingled with other property which cannot be divided without

                       difficulfy;

the United States shall seek a money judgment and, pursuant to Tifle 21, United States Code,

Section 853(p), forfeiture of any other properly of the defendants up to the value of said property.




                                              A        BILL:




DUA}IE A. EVA}IS
UMTED STATES ATTORNEY




New Orleans, Louisiana
December 10,2021
